Case 1:21-cr-00570-APM Document 45 Filed 03/23/23 Page 1 of 1

AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the

United States of America
Plaintiff
Vv.

Landon Copeland
Defendant

Case No. 1:21-cr-570

wee es te

APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Landon Copeland- Defendant

 

Date: 03/20/2023

 

___ Ryan D. Stout UT- 10300

Printed name and bar number

132 W. Tabernacle St, BLDG B
St. George, Utah 84770

 

Address

ryanstout13@hotmail.com

 

E-mail address

(435) 628-4411

 

Telephone number

(435) 628-9260

 

FAX number
